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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

     UNITED STATES OF AMERICA

    v.                    Case No. 8:14-cr-64-T-17TGW

    YOEL EMILIO BAEZ-HERNANDEZ

             FORFEITURE MONEY JUDGMENT AND PRELIMINARY
         ORDER OF FORFEITURE FOR DIRECT AND SUBSTITUTE ASSETS

          THIS CAUSE comes before the Court upon the United States' Motion for:

           (1)   A Preliminary Order of Forfeiture for J & E Adventure, Inc. d/b/a
                 LeJune Liquors, including but not limited to:

                        a.      Equipment and inventory; and

                         b.     Liquor License Number BEV2300101;

           (2)   A Forfeiture Money Judgment in the amount of $730,000.00;

          (3)    A Preliminary Order of Forfeiture for the following substitute assets in
                  partial satisfaction of the defendant’s $730,000.00 forfeiture money
                 judgment:

                 a.     A 2001 Pleasure Outboard Fiberglass Vessel, Hull
                        Number: CBA040WW101, Registration Number: FL1869PM
                        with a homemade private trailer, Vehicle Identification
                        Number: NOVIN0200993751, Florida Tag No. 113YDQ, both
                        registered in the name of LeJune Liquors; and

                 b.     A 2006 BMW, white, Vehicle Identification Number:
                        WBANE53536CK90380, Florida Tag No. 420XDJ, registered
                        to LeJune Liquors.

          A jury has already unanimously found that J & E Adventure, Inc. d/b/a

    LeJune Liquors, identified above, is property directly traceable to the proceeds of
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    the conspiracy for which he was found guilty.

           The Court finds that that the conspiracy for which the defendant was found

    guilty generated proceeds of $730,000.00.

           The Court further finds that the United States is entitled to forfeit the

    substitute assets identified above, in partial satisfaction of the defendant’s

     Forfeiture Money Judgment.

           Accordingly, it is hereby:

           ORDERED, ADJUDGED, and DECREED that for good cause shown, the

     United States’ motion is GRANTED.

           It is FURTHER ORDERED that, pursuant to 8 U.S.C. § 1324(b), 18 U.S.C.

    § 982(a)(6), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules of

    Criminal Procedure, J & E Adventure, Inc. d/b/a LeJune Liquors, identified above,

    is hereby forfeited to the United States for disposition according to law.

           It is FURTHER ORDERED that, pursuant to 8 U.S.C. § 1324(b), 18 U.S.C.

    § 982(a)(6), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2), the defendant shall be held

    liable for a forfeiture money judgment in the amount of $730,000.00. The

    defendant will be held jointly and severally liable for the full amount of the

    $730,000.00 money judgment with co-defendants Jasmine Santos-Martinez,




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     Carlos Velazquez-Roman, Edel Mesa-Hernandez, and with co-defendant Mario

     Emilio Tamayo-Mejias for up to $50,000.00.

            It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853(p), as

     incorporated by 18 U.S.C. § 982(b)(1), and Rule 32.2(e)(1)(B), the substitute

     assets, identified above, are hereby forfeited to the United States for disposition

     according to law, in partial satisfaction of the defendant’s $730,000.00 forfeiture

     money judgment. The net proceeds from the substitute assets will go toward

     satisfaction of the defendant’s Forfeiture Money Judgment.

            It is FURTHER ORDERED that this order shall become a final order of

     forfeiture as to the defendant at sentencing.

            The Court retains jurisdiction to address any third party claim that may be

     asserted in these proceedings, to enter any further order necessary for the

     forfeiture and disposition of such property, and to order any other substitute assets

     forfeited to the United States up to the amount of the forfeiture money judgment.

            DONE and ORDERED in Tampa, Florida, this                          day

     of




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     Natalie Hirt Adams, AUS,
     Counsel of Record
